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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:03-cr-00041-MP-AK

CLINTON A. FORD,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 505, Motion to Continue filed by Clinton A.

Ford. In his motion, Defendant requests a two week continuance of his sentencing currently

scheduled for Friday, October 28, 2005. In support of his motion, Defendant asserts that defense

counsel has a calendar conflict on said date requiring counsel to be in Bronson, Florida. The

Defendant states that the Government does not oppose this motion. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       Defendant Ford's Motion to Continue, Doc. 505, is granted. Defendant's sentencing
       hearing is hereby rescheduled for Thursday, December 1, 2005, at 10:00 a.m.

       DONE AND ORDERED this            19th day of October, 2005


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
